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                            UNITED STATES DISTRICT COURT
                                                                                      FILED
                            FOR THE DISTRICT OF COLUMBIA                               JUNE 7, 2021
                                                                                 Clerk, U.S. District & Bankruptcy
                                                                                 Court for the District of Columbia
                                          )
MIGUEL ANTONIO GARCIA,                    )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )                 Civil Action No. 21-1496 (UNA)
                                          )
JOE BIDEN, et al.,                        )
                                          )
            Defendants.                   )
_________________________________________ )


                                  MEMORANDUM OPINION

       This matter is before the Court on review of this pro se plaintiff’s application to proceed in

forma pauperis and his civil complaint. The plaintiff brings this civil rights action against the police

involved in the investigation leading to his arrest, the Assistant United States Attorneys who prosecuted

the criminal case against him, and the presiding United States District Judge. Generally, the plaintiff

alleges that defendants violated rights protected under the Fifth and Fourteenth Amendments to the

United States Constitution by fabricating evidence, committing perjury, falsely arresting him,

maliciously prosecuting him, and otherwise effecting his wrongful conviction and sentence. In addition

to injunctive relief, the plaintiff demands damages of $23 million.

       Prior to filing this case, the plaintiff filed a civil action in the United States District Court for the

District of Colorado. See Garcia v. Biden, No. 1:21-cv-1170 (D. Colo. Apr. 28, 2021). That case

involves the same parties, and the complaint, as amended, before the District of Colorado is substantially

similar to the complaint before this Court, presenting the same legal claims arising from the same factual

circumstances.
                                                       1
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       “Considerations of comity and orderly administration of justice dictate that two courts of equal

authority should not hear the same case simultaneously.” Wash. Metro. Area Transit Auth. v.

Ragonese, 617 F.2d 828, 830 (D.C. Cir. 1980) (citation omitted). Accordingly, the Court will grant the

plaintiff’s application to proceed in forma pauperis, and it will dismiss the complaint and this civil

action without prejudice. An Order is issued separately.



DATE: June 7, 2021                                    /s/
                                                      DABNEY L. FRIEDRICH
                                                      United States District Judge




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